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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA

HELENA DIVISION
ROBERT EKSTEDT, * No. CV-19-84-H-SEH
*
Plaintiff, * ORDER
Vv. *
*
GEICO GENERAL INSURANCE *
COMPANY, *
*
Defendant. *
*

 

The parties having filed a Stipulation for Dismissal With Prejudice of all
Claims, signed by all counsel of record, it is hereby ORDERED that the above-
entitled action be dismissed, on the merits, with prejudice, each party to pay their
own costs and fees.

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DATED this ast. of September, 2020,

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YAM E. HADDON
United States District Judge
